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4
5                                   IN THE UNITED STATES DISTRICT COURT
6                                FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8    UNITED STATES OF AMERICA,                          )   NO. 1:05-Cr-00221 AWI
                                                        )
9                            Plaintiff,                 )   STIPULATION CONTINUING CHANGE OF
                                                        )   PLEA HEARING AND ORDER THEREON
10           v.                                         )
                                                        )   Date: October 2, 2006
11   DANIEL PLANCARTE-VALDOVINOS,                       )   Time: 9:00 A.M.
                                                        )   Judge: Hon. Anthony W. Ishii
12                           Defendants.                )
                                                        )
13                                                      )
14
15           On August 24, 2006, the parties filed the following stipulation:
16
17           IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the change of plea hearing now set for August 28, 2006, may be continued to October 2,
19   2006, at 9:00 A.M.
20           This continuance is sought at the request of counsel for defendant to allow additional time for case
21   preparation.
22           The parties agree that the delay resulting from the continuance shall be excluded in the interests of
23   justice, including but not limited to, the need for the period of time set forth herein in the interest of justice
24   and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i) and
25   (iv).
26   ///
27   ///
28   ///
               Case 1:05-cr-00221-AWI Document 142 Filed 08/25/06 Page 2 of 2


1                                                               McGREGOR W. SCOTT
                                                                United States Attorney
2
3    DATED: August 24, 2006                                By: /s/ Kimberly A. Kelly
                                                               KIMBERLY A. KELLY
4                                                              Assistant United States Attorney
                                                               Attorney for Plaintiff
5
6                                                               DANIEL J. BRODERICK
                                                                Federal Public Defender
7
8    DATED: August 24, 2006                                By: /s/ Francine Zepeda
                                                               FRANCINE ZEPEDA
9                                                              Assistant Federal Defender
                                                               Attorneys for Defendant
10                                                             DANIEL VALDOVINOS-PLANCARTE
11
12                                                  ORDER
13           IT IS SO ORDERED. Time is excluded in the interest of justice and for effective defense
14   preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
15
16   IT IS SO ORDERED.
17   Dated:      August 25, 2006                      /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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     Stipulation Continuing Change of Plea
     Hearing and [Proposed] Order Thereon              -2-
